         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     STATESVILLE DIVISION

                       CRIMINAL NO. 5:02CR43-3


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                      ORDER
                         )
                         )
HARRIET SPANN            )
                         )


     THIS MATTER is before the Court sua sponte to continue the

supervised release violation hearing from the October 30, 2006, calendar.

     IT IS, THEREFORE, ORDERED that this case is continued from the

October 30, 2006, calendar.

     IT IS FURTHER ORDERED that the hearing is rescheduled for

WEDNESDAY, NOVEMBER 29, 2006, AT 2:30 PM, at the U.S.

Courthouse in Statesville, North Carolina.

                                     Signed: October 23, 2006




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